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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       Criminal No. 1:22-mj-00203-GMH
                                              :
       v.                                     :
                                              :
JON LIZAK,                                    :
                                              :
                       Defendant.             :
                                              :

                                              ORDER

       Based upon the representations in the Parties’ Joint Motion to Continue and to Exclude

Time Under the Speedy Trial Act, and upon consideration of the entire record, the Court makes

the following findings:

       In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the considerations described in 18 U.S.C. § 3161(h)(7)(B)(i), (ii), and (iv). Due to the

interest by the parties in producing and reviewing discovery, defendant’s ongoing investigation,

and the ongoing discussion regarding a potential resolution of this matter, the failure to grant such

a continuance in this proceeding would be likely result in a miscarriage of justice. Accordingly,

the ends of justice served by granting a request for a continuance outweigh the best interest of the

public and the defendant in a speedy trial.

       Therefore, it is this WK day of February, 2023,

       ORDERED that the Parties’ Joint Motion to Continue and to Exclude Time Under the

Speedy Trial Act, is hereby GRANTED; it is further

       ORDERED that the currently scheduled status hearing on February 14, 2023, be continued

for good cause to        $SULO      , 2023, at SP         ; and it is further
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      ORDERED that the time period from )HEUXDU\ through and including $SULO

  is hereby excluded from calculation under the Speedy Trial Act, 18 U.S.C. §

3161(h)(7)(A) and the computation of time within which indictment/information or

trial must commence.
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                                 THE HONORABLE 52%,100(5,:($7+(5
                                 UNITED STATES MAGISTRATE JUDGE
